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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


                                                         CIVIL ACTION NO. 2:21-cv-748
DYNAMIC INDUSTRIES, INC.,
DYNAMIC INDUSTRIES
INTERNATIONAL, LLC and DYNAMIC                           JUDGE
INDUSTRIES SAUDI ARABIA, LTD.

VERSUS                                                   MAGISTRATE JUDGE

METLIFE - AMERICAN
INTERNATIONAL GROUP - ARAB
NATIONAL BANK COOPERATIVE
INSURANCE COMPANY; WALAA
COOPERATIVE INSURANCE CO.;
AMERICAN LIFE INSURANCE
COMPANY; AIG MEA INVESTMENTS
AND SERVICES COMPANY and
MARSH & MCLENNAN COMPANIES
INC.

               COMPLAINT FOR DECLARATORY RELIEF AND DAMAGES

         NOW INTO COURT, through undersigned counsel, come Plaintiffs, Dynamic

Industries, Inc., Dynamic Industries International, LLC, and Dynamic Industries Saudi Arabia,

Ltd. (“Plaintiffs”) who respectfully aver as follows:

                                    I. NATURE OF ACTION

1.       This is an action for declaratory judgment pursuant to 28 U.S.C. § 2201 to determine an

         actual case or controversy regarding a comprehensive general liability insurance policy

         issued to several named insureds, including Plaintiffs, for the period January 12, 2017

         until January 11, 2021.

                                          II. PARTIES

2.       Dynamic Industries, Inc. (“DI”) is a corporation organized under the laws of the State of

         Louisiana with its principal place of business in New Orleans, Louisiana, and authorized



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         to do and doing business in the State of Louisiana. DI is the owner of seventy percent

         (70%) of DISA (defined below).

3.       Dynamic Industries International, LLC (“DII”) is a limited liability company organized

         and existing under the laws of the State of Louisiana with its principal place of business

         in New Orleans, Louisiana, and authorized to do and doing business in the State of

         Louisiana.

4.       Dynamic Industries Saudi Arabia, Ltd. (“DISA”) is a Saudi Arabian limited liability

         company, majority-owned by DI and headquartered in Al-Khobar Kingdom of Saudi

         Arabia.

5.       Made Defendant herein is Marsh & McLennan Companies, Inc., d/b/a/ Marsh Inc.

         (“Marsh”), a foreign corporation authorized to and doing business in the State of

         Louisiana with its registered office designated at 3867 Plaza Tower Drive. Baton Rouge,

         LA 70816.      Marsh, through its affiliates, provides industry-focused consulting and

         brokerage services for insurance products on a worldwide basis.

6.       Also made Defendant herein is Metlife - American International Group - Arab National

         Bank Cooperative Insurance Company (“MetLife-ANB”), foreign insurers who issued

         the policy of insurance in question in favor of Plaintiffs.

7.       Also made Defendant herein is Walaa Cooperative Insurance Co. (“Walaa”), a foreign

         insurer who assumed and/or issued the policy of insurance in question and/or is the

         successor-in-interest to MetLife-ANB.

8.       Also made Defendant herein is American Life Insurance Company (“ALICO”), a

         domestic company that owns and/or, at the time the policy of insurance in question was




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         issued, owned MetLife-ANB, and has or may have successor liability for MetLife-ANB

         obligations, including the policy at issue.

9.       Also made Defendant herein is AIG MEA Investments and Services Company (“AIG

         MEA”), a domestic company that owns and/or, at the time the policy of insurance in

         question was issued, owned MetLife-ANB and has or may have successor liability for

         MetLife-ANB obligations, including the policy of insurance at issue.

                                III. JURISDICTION AND VENUE

10.      This court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C. §

         1333, 28 U.S.C. § 2201, and Rule 57 of the Federal Rules of Civil Procedure.

11.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) as it is a judicial

         district in which a substantial part of the events or omissions giving rise to the claim

         occurred, or a substantial part of property that is the subject of the action is situated; or 28

         U.S.C. § 1391(b)(3), as it is a judicial district in which a defendant is subject to the

         court’s personal jurisdiction with respect to such action.

                                  IV. FACTUAL ALLEGATIONS

         A.      Background

12.      On June 10, 2015, DII and Aramco Overseas Company B.V., an affiliate of SAUDI

         ARAMCO as defined below, entered into Contract No. 6600035784 (OOK), Long Term

         Agreement for Offshore Facilities Contract, for Detailed Design, Materials Procurement

         and Fabrication of Facilities and CPRO No. 6510797896.

13.      Separately, DISA and Saudi Arabian Oil Company (“SAUDI ARAMCO”) entered into

         Contract No. 6600035785 (IK), Long Term Contract for Offshore Facilities, Contract for

         Procurement and Construction, and CRPO No. 3510797893 (collectively, the




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         “Contract”), which included work to replace five pipelines located in the Berri Field in

         the Kingdom of Saudi Arabia (the “Project”).

14.      Performance of the Contract by DISA is guaranteed by DI through a Parent Company

         Performance Guarantee, rendering DI directly liable for the obligations of DISA under

         the Contract.

15.      As required by Paragraph 17 of the Contract, Plaintiffs sought and obtained a

         comprehensive general liability policy of insurance from MetLife-ANB (the “Policy”)

         that provided the required insurance coverage at all relevant times during the Project. The

         Policy also provides coverage to parent and/or subsidiary companies. A copy of the

         Policy delivered to Plaintiffs is attached hereto as Exhibit 1.

16.      The Policy was brokered by Marsh in New Orleans, Louisiana, with Plaintiffs utilizing

         the insurance services and expertise of Marsh to acquire the necessary coverage as

         required by the Contract.

17.      Plaintiffs relied upon, and paid for, the knowledge, expertise and recommendations of

         Marsh to procure the necessary insurance protecting Plaintiffs from any loss as required

         under the Contract.

18.      Marsh understood, through discussion with Plaintiffs, that Plaintiffs wished to procure all

         necessary primary insurance to protect them as required under the Contract.

19.      DISA subcontracted certain portions of the work for the Project to Offshore Oil

         Engineering Co., Ltd. (“COOEC”), pursuant to Subcontract No. 6600035785 –

         3648COOEC001-IK (the “Subcontract”).




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         B.     The Incident

20.      On or about the evening of June 25, 2019, a COOEC barge flotilla was involved in

         demolition and recovery operations in the Berri Field in the area at and around BRRI TP-

         2 and BRRI TP-3.

21.      A grapple being utilized by COOEC personnel or those for whom COOEC is responsible

         and/or liable in the demolition operation, damaged a submarine power cable owned by

         SAUDI ARAMCO (the “Incident”).

22.      COOEC failed to timely report the Incident to either DISA or SAUDI ARAMCO.

23.      During a routine survey of the field shortly thereafter, an unrelated survey vessel working

         for SAUDI ARAMCO discovered the damage to its submarine cable caused by the

         Incident.

24.      This discovery was reported to DISA on or about September 7, 2019, and DISA relayed

         that information to COOEC. At the time of the report, SAUDI ARAMCO suspected that

         the damage had been caused by the recent COOEC operations in the area. DISA notified

         COOEC of these facts both verbally, namely in a September 23, 2019 meeting, and by

         letter dated September 25, 2019.

25.      SAUDI ARAMCO’s formal investigation into the cause of the damage ultimately

         revealed that the damage to the cable was occasioned during the COOEC demolition

         operation in connection with the Project, a fact confirmed by contemporaneous video

         evidence.

26.      DISA received formal notice of this discovery on March 24, 2020, at which time SAUDI

         ARAMCO requested that DISA rectify the damage pursuant to the express terms of the

         Contract and implement temporary repair solutions by April, 30, 2020 in order to allow

         for installation of a new cable by March of 2021.


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27.      DISA immediately tendered this notice to COOEC, by letter dated March 26, 2020. In

         that notice, DISA further requested COOEC place its insurance carriers on notice of the

         loss.

28.      On April 7, 2020, SAUDI ARAMCO reiterated its request that DISA submit an action

         plan for the temporary solution and permanent replacement of the damaged cable, noting

         its criticality to SAUDI ARAMCO’s other operations.

29.      On April 14, 2020, DISA forwarded the April 7, 2020 correspondence from SAUDI

         ARAMCO to COOEC, and reiterated its demand that COOEC (i) immediately submit an

         action plan for the replacement of the submarine cable, and (ii) place its underwriters on

         notice.

30.      To date, neither COOEC nor its insurers have accepted the claim or made payment. In

         fact, to date, COOEC’s insurers have denied any coverage for the Incident to Plaintiffs.

31.      Accordingly, there is no other insurance available to Plaintiffs for the losses at issue.

32.      Because Plaintiffs have direct liability to SAUDI ARAMCO and its affiliates for certain

         property damage caused by any subcontractor, including COOEC, under the terms of the

         Contract, Plaintiffs bought primary insurance coverage in the Policy issued by MetLife-

         ANB.

         C.        The DISA Contract

33.      The Contract contains a clause obligating DISA to SAUDI ARAMCO for damage to

         “other property,” subject to certain conditions and qualifications.

34.      Under the terms of the Contract, the damage to the submarine cable was damage to “other

         property.” The Contract defines “SAUDI ARAMCO Other Property” as follows: “…

         means SAUDI ARAMCO’s units, systems, structures, plants and equipment existing

         separately from the FACILITIES, and any part of the FACILITIES which WORK has


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         been terminated or which SAUDI ARAMCO assumes custody and control pursuant to

         Paragraph 9.6.”

35.      Pursuant to the Contract, Schedule “H” – Section 1.20 entitled “DISTRIBUTION OF

         RISKS,” replaces Paragraph 16.2 of Schedule “A” with the following:

                16.2.2     Separate and apart from the obligations set forth in
                Paragraph 11.1 and/or Paragraph 11.3, if the loss, damage or
                destruction of the FACILITIES or SAUDI ARAMCO Other
                Property is due to an event resulting from the negligence, willful
                misconduct or fault of CONTRACTOR or CONTRACTOR
                GROUP CONTRACTOR shall compensate SAUDI ARAMCO for
                loss or damage to the FACILITIES or SAUDI ARAMCO Other
                Property as follows:

                *          *        *

                SAUDI ARAMCO Other Property

                *          *        *

                d)      CONTRACTOR [DISA] shall be responsible for the first
                US$ 1,000,000 (one million) per occurrence of loss and damage to
                SAUDI ARAMCO Other Property occurring offshore.

                *          *        *

                16.2.4     CONTRACTOR’s limitation of liability in Paragraphs
                16.2.2 shall not apply to any amounts that are recovered or may be
                recoverable from any insurance policy maintained under this
                Contract.

36.      The Contract also requires DISA, and its subcontractors such as COOEC, to carry

         insurance, as set forth in Article 17:

                17.1.2     Comprehensive General Liability

                Normal and customary general liability insurance coverage in
                regards to all the Work, with minimum policy limits for any loss
                occurring:




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               Onshore:

               of not less than US$ 10,000,000 (ten million) per occurrence for
               personal injury, death, or property damage, and including sudden
               and accidental pollution coverage

               Offshore:

               of not less than US$ 100,000,000 (One hundred million) per
               occurrence for personal injury, death or property damage, and
               including sudden and accidental pollution coverage.

               17.1.4   Marine Operations

               If the performance of this Agreement requires CONTRACTOR to
               use Marine Craft owned or leased by CONTRACTOR,
               CONTRACTOR shall carry or require the owners of such Marine
               Craft to carry marine insurance with policy limits adequate to
               cover and protect:

               *          *       *

               (iii)        any other liability, including contractual liability and
               pollution liability related to this contract, that may result from the
               operation of such Marine Craft a policy limit of not less than US$
               100,000,000 (one hundred million) per occurrence.

               17.2       CONTRACTOR Liable for Full Amount of Losses

               SAUDI ARAMCO and CONTRACTOR agree that the insurance
               coverages listed under Paragraph 17.1 are minimum coverages
               required to be purchased by CONTRACTOR under this Contract.
               Should any loss occur for which CONTRACTOR is responsible
               under this Contract, CONTRACTOR shall be liable for the full
               amount of the loss (subject to any limitations set forth in Paragraph
               16 or otherwise in this Contract), including the amount in excess of
               CONTRACTOR’s insurance limits and including the amount of
               any deductible specified in CONTRACTOR’s insurance policy.

               *          *       *

               17.5       Subcontracting

               If SUBCONTRACTOR sub-subcontracts any part of the WORK,
               SUBCONTRACTOR shall not require its sub-subcontractors to
               insure against liability assumed by CONTRACTOR pursuant to
               Paragraph 16. SUBCONTRACTOR shall require its sub-
               subcontractors to maintain insurances specified in the sub-


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                subcontracts, and shall further require that provisions giving
                CONTRACTOR and SAUDI ARAMCO the rights specified in
                Paragraphs 17.3 and 17.4 be included in such sub-subcontracts.

37.      Thus, DISA, and by extension DI, remain liable at law for damage to “other property of

         SAUDI ARAMCO,” including the damage alleged to have occurred in the Incident as set

         forth and as qualified in the Contract.

         D.     The Policy

38.      The MetLife-ANB Policy was purchased for the explicit purpose of protecting Plaintiffs

         from property damage occasioned during the work under the Contract.

39.      The Policy’s “Principal Insureds” include DISA, DII and DISA’s parent company, DI.

40.      The Policy further extends coverage to the contractors and subcontractors of Plaintiffs as

         “Other Assureds.”

41.      The Policy was first “issued” to Plaintiffs on November 14, 2019, when Marsh sent to

         Plaintiffs the Policy to the Plaintiff via electronic mail. This Policy was delivered to

         Plaintiffs, two of whom were and are Louisiana subjects, in Louisiana.

42.      Moreover, the “original policy document” was physically mailed to Plaintiffs at their

         mailing address in New Orleans, Louisiana, and physically received here in New Orleans.

43.      As such, the Policy in question was delivered or issued for delivery in this state and

         covers subjects located and resident in this state.

44.      MetLife-ANB’s Policy clearly provides direct coverage to DISA and DI for their

         liabilities, and further provides coverage to “[a]ny other company…(including

         contractors and/or subcontractors…) with whom the Insured named in i, ii, ii and iv

         have entered into written contract(s) directly in connection with the project.” There is no

         factual dispute that COOEC was a subcontractor to DISA under a written contract for the




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         Project. Accordingly, the Policy’s insuring agreement is triggered by COOEC’s

         negligence.

45.      Pursuant to the Policy, MetLife-ANB agrees to pay “damages because of bodily injury or

         property damage to this this insurance applies.”

46.      This particular “property damage” was caused by an occurrence that took place in the

         coverage territory during the Policy period.

47.      The Policy is therefore directly obligated to respond to this loss and claim.

48.      DISA, and by extension DI, are obligated to SAUDI ARAMCO concerning the

         reasonable costs and expenses of the required repairs as set forth and qualified in the

         Contract, and considers all such costs expenses to be amounts reimbursable under the

         Policy.

49.      The current estimate for the repair work necessitated by the damage is $8 million.

50.      Although the Policy contains a forum selection clause designating the Kingdom of Saudi

         Arabia as the choice of law and jurisdiction, enforcement of this forum selection clause

         would effectively deny Plaintiffs their day in court because it would be unduly

         burdensome to bring suit against Defendants in the Kingdom of Saudi Arabia. Moreover,

         this choice of law and forum is in violation of La. R.S. 22:868.

51.      In particular, the State of Louisiana has declared as a matter of public policy that no

         insurance contract delivered or issued for delivery in this state and covering subjects

         located or resident in this state, shall contain any condition, stipulation, or agreement

         requiring such insurance contract to be construed according to the laws of any other state

         or country.




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52.      The State of Louisiana has further declared as a matter of public policy that no insurance

         contract delivered or issued for delivery in this state and covering subjects located or

         resident in this state, shall contain any condition, stipulation, or agreement Depriving the

         courts of this state of the jurisdiction of action against the insurer.

53.      Any and all provisions of the Policy requiring Plaintiffs to litigate the obligations of the

         Policy outside of this Court are therefore illegal and void.

                   FIRST CAUSE OF ACTION – DECLARATORY JUDGMENT

54.      Plaintiffs incorporate and re-allege the allegations of Paragraphs 1 through 53 as if pled

         herein.

55.      28 U.S.C. § 2201(a) provides that in “a case of actual controversy within its jurisdiction .

         . . any court of the United States . . . may declare the rights and other legal relations of

         any interested party seeking such declaration, whether or not further relief is or could be

         sought.”

56.      There is a live, justiciable controversy between the parties concerning the interpretation

         of the Policy.

57.      Accordingly, Plaintiffs pray for a declaration concerning the rights and obligations under

         the Policy, including as follows:

         a.        The Policy’s choice of law and forum selection clauses are unreasonable, contrary
                   to the public policy of the State of Louisiana as expressed in statute, La. R.S.
                   22:868, and thus void and invalid as a matter of law;

         b.        The Policy’s forum selection clause is unreasonable and thus invalid as a matter
                   of law;

         c.        Plaintiffs are insureds under the Policy;

         d.        Plaintiffs’ MetLife-ANB Policy is the primary insurance policy insuring Plaintiffs
                   from liability to SAUDI ARAMCO for damages resulting from the Incident;




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         e.        The Incident was caused during and by the operations of Plaintiffs’ subcontractor,
                   COOEC;

         f.        Plaintiffs’ MetLife-ANB Policy provides coverage for damages arising from the
                   Incident;

         g.        Plaintiffs’ MetLife-ANB Policy is a primary insurance policy and not an excess
                   insurance policy;

         h.        There is no “other insurance” available to Plaintiffs;

         i.        Plaintiffs’ losses are covered under the MetLife-ANB Policy.

                           SECOND CAUSE OF ACTION – BREACH OF CONTRACT

58.      Plaintiffs incorporate and re-allege the allegations of Paragraphs 1 through 57 as if pled

         herein.

59.      Plaintiffs are insureds under the Policy.

60.      The Policy obligates Defendants to defend and indemnify Plaintiffs from Losses covered

         by the Policy.

61.      The Losses attributable to the Incident, and for which Plaintiffs may be liable, are

         covered by the Policy and subject to the obligations of defense and indemnity as set forth

         in the Policy.

62.      Despite repeated request for coverage under the Policy, Defendants have not accepted

         that the Policy provides coverage for the Incident.

63.      The refusal to accept coverage is a breach of the terms of the Policy.

                            THIRD CAUSE OF ACTION – CLAIM AGAINST AGENT

64.      Plaintiffs incorporate and re-allege the allegations of Paragraphs 1 through 63 as if pled

         herein.

65.      In the alternative, if there is no coverage under the Policy, then Marsh is liable to

         Plaintiffs for damages caused by its failure to procure the requested coverage that would




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         have included coverage for the damage arising from the Incident, and for any failures to

         timely and properly place and bind the requested insurance.

66.      Plaintiffs specifically engaged Marsh as the company’s exclusive agent to procure

         necessary insurance for the operations set forth in the Contract.

67.      In particular, over the course of many meetings, Plaintiffs provided Marsh with all

         information relating to the Project, including contracts that consisted of several hundreds

         of pages, and included detailed insurance requirements.

68.      Plaintiffs are not experts or sophisticated users in the insurance world, and thus rely upon

         brokers like Marsh to understand, explain and procure insurance required for their

         operations.

69.      At no time did anyone from Marsh tell Plaintiffs that the Policy they procured was an

         “excess” insurance policy.      In fact, based upon the premiums charged, Plaintiffs

         understood the Policy to afford primary insurance protection to Plaintiffs.

70.      Marsh breached its duty of due diligence to procure the insurance requested by Plaintiffs

         and/or as called for in the Contract.

71.      Marsh never advised Plaintiffs that the Policy procured was an excess policy that would

         not provide primary coverage in the event of a loss.

72.      Furthermore, the first time that Plaintiffs were provided the actual, written Policy was

         November 19, 2019, via electronic mail from a representative of Marsh.

73.      This occurred after notification of the Incident and the loss to Plaintiffs, and, from the

         limited information available to Plaintiffs, it is unclear if and how the original binding of

         the necessary insurance coverage and placement occurred.




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74.      Marsh also breached its duty to disclose to Plaintiffs that the insurance it had procured

         did not fulfill Plaintiffs’ request to provide coverage as required in the Contract.

75.      As a result of these breaches, Marsh is liable for all damages Plaintiffs have incurred and

         will continue to incur as a result of these breaches of duty, plus interest and costs.

                   FOURTH CAUSE OF ACTION – CLAIM AGAINST METLIFE-ANB
                                   OWNERSHIP GROUP

76.      Plaintiffs incorporate and re-allege the allegations of Paragraphs 1 through 63 as if pled

         herein.

77.      Beginning in June of 2019, MetLife-ANB began discussions with Walaa concerning a

         possible merger of the two insurers.

78.      On or about September 29, 2019, MetLife-ANB signed a binding merger agreement

         whereby Walaa acquired the stock of MetLife-ANB through a share swap (the

         “Transaction”).

79.      The Transaction became effective in March of 2020.

80.      The Policy at issue was a liability of MetLife-ANB, and is a liability that arose prior to

         the Transaction and is therefore one for which the sellers of MetLife ANB remain liable

         as part of the Transaction.

81.      As such, and based on information and belief, Defendants ALICO and AIG-MEA have

         liability, in their individual capacities, for the retained liability relating to the Policy, in

         their respective shares of ownership.




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                                         JURY DEMAND

82.      Plaintiffs pray for trial by jury on all issues so triable under the Federal Rules of Civil

         Procedure.

                                     PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:

         a.     Issuing a Declaratory Judgment declaring the Parties’ rights and obligations under
                the Policy, as prayed for;

         b.     Awarding amounts for losses and liabilities covered by the Policy;

         c.     Ordering Defendants to provide defense and indemnity to Plaintiffs for the
                Incident;

         d.     Awarding Plaintiffs all fees and costs incurred in prosecuting this action; and

         e.     Such other relief as this court deems just and proper.



                                              Respectfully submitted,

                                              /s/ L. Etienne Balart
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